         Case 1:23-cv-00207-JL          Document 14          Filed 01/31/25   Page 1 of 2




                       UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW HAMPSHIRE
____________________________________
                                     )
UNITED STATES OF AMERICA             )
ex rel. SIDESOLVE LLC,              )
                                    )
        Plaintiffs,                 )
                                    )
v.                                  )         Case No. 23-cv-207-JL
                                    )
JAY CASHMAN, INC., STERLING         )
EQUIPMENT, INC., and CASHMAN        ) FILED UNDER SEAL – LEVEL 2
DREDGING & MARINE CONTRACTING )
LLC.,                                )
                                    )
        Defendants.                  )
____________________________________)

                        UNITED STATES OF AMERICA’S NOTICE OF
                         ELECTION TO DECLINE INTERVENTION

       Pursuant to the False Claims Act, 31 U.S.C. § 3730(b)(4)(B), the United States notifies

the Court of its decision not to intervene in this action.

       Although the United States declines to intervene, the Court is referred to 31 U.S.C.

§ 3730(b)(1), which allows the relator to maintain the action in the name of the United States;

providing, however, that the “action may be dismissed only if the court and the Attorney General

give written consent to the dismissal and their reasons for consenting.” 31 U.S.C. § 3730(b)(1).

Therefore, the United States requests that, should either the relator or the defendant propose that

this action be dismissed, settled, or otherwise discontinued, this Court solicit the written consent

of the United States before ruling or granting its approval.

       Furthermore, pursuant to 31 U.S.C. § 3730(c)(3), the United States requests that all

pleadings filed in this action be served upon the United States. The United States also requests

that orders issued by the Court be sent to undersigned counsel for the Government. The United
         Case 1:23-cv-00207-JL          Document 14           Filed 01/31/25    Page 2 of 2




States reserves its right to order any deposition transcripts, to intervene in this action, for good

cause, at a later date, and to seek the dismissal of the relator’s action or claim. The United States

also requests that it be served with all notices of appeal.

       Finally, the Government requests that the relator's Complaint, this Notice, and the

attached proposed Order be unsealed. The United States requests that all other papers on file in

this action remain under seal because in discussing the content and extent of the United States'

investigation, such papers are provided by law to the Court alone for the sole purpose of

evaluating whether the seal and time for making an election to intervene should be extended.

       A proposed order accompanies this notice.

                                                       Respectfully submitted,

                                                       JOHN J. MCCORMACK
                                                       Acting United States Attorney

                                                       By: /s/ Raphael Katz
                                                       Raphael Katz
                                                       Assistant U.S. Attorney
                                                       NY Bar No. 4371688
                                                       53 Pleasant Street
                                                       Concord, NH 03301
                                                       (603) 225-1552
Dated: January 31, 2025                                raphael.katz@usdoj.gov


                                   CERTIFICATE OF SERVICE

       I hereby certify that on this 31st day of January 2025, I have served a copy of this Notice
and proposed Order on relator’s counsel via email and regular mail to:

                               Nicholas G. Kline, Esquire
                               Shaheen & Gordon, PA
                               353 Central Avenue, 2nd Floor
                               Dover, NH 03821-0977

Dated: January 31, 2025                                /s/ Raphael Katz
                                                       Raphael Katz, AUSA



                                                   2
